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               EXHIBIT C-1
                        Budget
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                                                  EXHIBIT C-1
                                                   BUDGET
If the parties consent or the court so directs, a budget approved by the client in advance should generally
be attached to each interim and final fee application filed by the applicant. If the fees sought in the fee
application vary by more than 10% from the budget, the fee application should explain the variance. See
Guidelines ¶ C.8. for project category information.




                      PROJECT CATEGORY                          HOURS BUDGETED1      FEES BUDGETED
    Asset Disposition                                                      150.00          $165,000.00
    Bankruptcy Litigation                                                  500.00          $550,000.00
    Business Operations                                                     20.00          $ 22,000.00
    Case Administration                                                     70.00          $ 52,500.00
    Claims Administration/ Objection                                        25.00          $ 27,500.00
    Compensation of Prof/Others                                             10.00          $ 10,000.00
    Employee Benefit/Pension                                               150.00          $180,000.00
    Executory Contracts                                                     25.00          $ 25,000.00
    Financial Filings                                                       30.00          $ 36,000.00
    Financing                                                               90.00          $ 90,000.00
    General Business Advice                                                 15.00          $ 15,000.00
    Insurance Coverage                                                       0.00         $       0.00
    Meeting of Creditors                                                    10.00          $ 12,000.00
    Operations                                                               5.00          $ 5,000.00
    Plan and Disclosure Statement                                          500.00          $500,000.00
    Retention of Professional                                                5.00          $ 5,000.00
    Retention of Prof./Others                                               70.00          $ 77,000.00
    Stay Litigation                                                         12.00          $ 13,200.00
    Total                                                                1,687.00        $1,785,200.00




Case Name:                First Guaranty Mortgage Corporation
Case Number:              22-10584 (CTG)
Applicant's Name:         Pachulski Stang Ziehl & Jones LLP
Date of Application:      12/21/2022
Interim or Final          Final


1
    If applicable.
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               EXHIBIT C-2
                      Staffing Plan
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                                                                          EXHIBIT C-2

                                                                       STAFFING PLAN
      If the parties consent or the court so directs, a staffing plan approved by the client in advance should generally be attached to each interim and
      final fee application filed by the applicant. If the fees are sought in the fee application for a greater number of professionals than identified in
      the staffing plan, the fee application should explain the variance.


                                                                          NUMBER OF TIMEKEEPERS EXPECTED TO
                               CATEGORY OF TIMEKEEPER 1
                                                                           WORK ON THE MATTER DURING THE                         AVERAGE HOURLY RATE
                         (using categories maintained by the firm)
                                                                                   BUDGET PERIOD
                   Sr./Equity Partner/Shareholder                                             5                                          $1,286.20
                   Of Counsel                                                                 6                                          $1,155.97
                   Associates                                                                 1                                         $ 675.00
                   Law Library Director                                                       1                                         $ 495.00
                   Paralegal                                                                  5                                          $ 493.74
                   Case Management Assistants                                                 3                                          $ 395.00
1 As an alternative, firms can identify attorney timekeepers by years of experience rather than category of attorney timekeeper: 0-3, 4-7, 8-14, and 15+. Non-
attorney timekeepers, such as paralegals, should be identified by category.




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